Case 17-42571-rfn11 Doc 4 Filed 06/22/17                      Entered 06/22/17 13:50:19      Page 1 of 27



Vickie L. Driver
Texas Bar No. 24026886
Christina W. Stephenson
Texas Bar No. 24049535
HUSCH BLACKWELL LLP
2001 Ross Avenue, Suite 2000
Dallas, Texas 75201
Phone: (214) 999-6100
Fax: (214) 999-6170
Email: vickie.driver@huschblackwell.com
Email: crissie.stephenson@huschblackwell.com

PROPOSED COUNSEL FOR THE DEBTORS

                                 UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                       FORT WORTH DIVISION

IN RE:                                                        §      CHAPTER 11
                                                              §
FOUNDATION HEALTHCARE, INC.,                                  §      CASE NO. 17-42571
                                                              §
                             DEBTOR.                          §      Complex Case
                                                              §      Designation Requested
-----------------------------------------------------------

                                                              §
IN RE:                                                        §      CHAPTER 11
                                                              §
UNIVERSITY GENERAL HOSPITAL, LLC,                             §      CASE NO. 17-42570-11
                                                              §
                             DEBTOR.                          §      Complex Case
                                                              §      Designation Requested
-----------------------------------------------------------


                             AFFIDAVIT OF MICHAEL S. MILLER
                         IN SUPPORT OF THE DEBTORS’ CHAPTER 11
                      PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF

          MICHAEL S. MILLER hereby declares, under penalty of perjury, as follows:

          1.        I am the chief restructuring officer (“CRO”) of Foundation Healthcare, Inc.

(“FHI”) and University General Hospital, LLC (“UGH”), Chapter 11 debtors and debtors-in-

possession (collectively, the “Debtors”), and based upon my involvement with the Debtors as

CRO effective January 30, 2017, I am familiar with the business and financial affairs of the


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 1
Case 17-42571-rfn11 Doc 4 Filed 06/22/17               Entered 06/22/17 13:50:19        Page 2 of 27



Debtors. I set forth the following in support of the Debtors’ Chapter 11 petitions and requests for

relief filed contemporaneously herewith.

                                              I.
                                        INTRODUCTION

        2.      I am a Managing Director at Ankura Consulting Group, LLC (“Ankura”) in

Dallas, Texas. I have more than 30 years of experience in health care management including

hospitals, long-term acute care hospitals (“LTAC”), skilled nursing, rehabilitative units,

psychiatric units, ambulatory care clinics, and durable medical care. My experience includes

acting as chief executive officer (“CEO”), chief operating officer (“COO”), and chief financial

officer (“CFO”) at corporate, regional and local levels. I have also been appointed as the chief

restructuring officer (“CRO”) for Forest Park Medical Center at Frisco, LLC. I have experience

assisting distressed businesses attain a position of strategic, operational, and financial stability.

        3.      Prior to joining Ankura, I was a Senior Manager at Deloitte where I was a

member of the health care corporate restructuring industry practice. Prior to entering the

corporate restructuring field, I served in positions such as Vice President of Group Operations

for Community Health Systems, CEO of two acute-care hospitals for IASIS Healthcare, CEO of

a three-hospital market for Columbia, HCA and CFO of a hospital in Texas.

        4.      I earned a BS in Economics from the University of Texas at Arlington and a

MBA in Management from the University of Dallas.

        5.      On June 21, 2017 (the “Petition Date”), the Debtors commenced their Chapter 11

cases (the “Cases”) by filing voluntary petitions for relief under Title 11 of the United States

Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern

District of Texas. Though UGH is no longer operating as a hospital and FHI is no longer



AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 2
Case 17-42571-rfn11 Doc 4 Filed 06/22/17               Entered 06/22/17 13:50:19    Page 3 of 27



providing support services to its affiliates, the Debtors continue to manage their businesses as

debtors in possession pursuant to Bankruptcy Code Sections 1107 and 1108.

        6.        To minimize any degradation to the value of their assets as a result of the

commencement of the Cases, the Debtors request, contemporaneously herewith, various types of

relief in certain “First-Day” applications and motions (collectively, the “First-Day Motions”)

filed herewith.

       7.         The First-Day Motions focus on: (a) seeking to jointly administer the two Chapter

11 cases to allow for the efficient and convenient administration of these related Cases; (b)

obtaining authorization for the limited use of cash collateral and debtor-in-possession (“DIP”)

financing as necessary for the continued wind-down and liquidation of the Debtors, as well as;

(c) interim approval of my appointment as independent chief restructuring officer in these

proceedings and Ankura as the Debtors’ financial advisor; (d) allowing for the payment of

amounts needed to satisfy medical insurance benefits owed to the individuals who worked for

either of the Debtors prior to the Petition Date; (e) maintenance of pre-petition cash management

systems needed to prevent disruption of critical payments from insurers and governmental

entities; (f) approval of the employment of Donlin, Recano & Company, Inc., as claims, noticing

and solicitation agent for the Debtors; and (g) a motion to ensure proper patient privacy in

connection with the various filings and disclosures required by the Bankruptcy Code and

associated rules.

        8.        Without access to the funds provided for in the proposed cash collateral and DIP

budget, the Debtors will be unable to continue with the orderly wind-down and liquidation

process, including the Debtors’ proposed joint liquidating plan, which seeks to appoint a

liquidating trustee to administer various assets to creditors as appropriate through a liquidating


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 3
Case 17-42571-rfn11 Doc 4 Filed 06/22/17               Entered 06/22/17 13:50:19   Page 4 of 27



trust. Further, a chief restructuring officer and financial advisors are crucial to the Debtors’

efforts in these cases, providing highly specialized healthcare wind-down services to the

Debtors’ remaining management. In addition, payment of medical insurance benefits for the

employees who worked for the Debtors and paid premiums to receive such coverage is

imperative, and a priority to the Debtors. Additionally, the Debtors seek relief to continue the

use of their current cash management system in order to avoid an interruption in the flow of

revenues from insurance reimbursements and patient payments. The Debtors also seek to

employ a claims and noticing agent to, among other things, assist with service of pleadings,

maintain the claims register, and maintain a call center to efficiently provide information to

former patients who have questions about the filings. Finally, certain relief is needed to honor

patient privacy while also filing the appropriate disclosures and providing notice to all

applicable notice parties.

        9.      In addition to the personal knowledge that I have acquired while working with

the Debtors, I also have basic knowledge of, and familiarity with the Debtors’ business and

financial affairs. I have also participated in negotiations with the Debtors’ secured lenders,

vendors, and others, and worked closely with the Debtors’ personnel who handle business

operations and financial management, as well as with the Debtors’ outside counsel and other

advisors. Except as otherwise indicated, all statements in this Affidavit are based upon my

personal knowledge, my review of the Debtors’ books and records, and other relevant

documents, and other information prepared or collected by the Hospital’s employees, or upon

my opinion based upon my experience with the Debtors’ business operations, financial

condition, and the Hospital. In making the statements herein, based upon the foregoing, I have




AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 4
Case 17-42571-rfn11 Doc 4 Filed 06/22/17               Entered 06/22/17 13:50:19   Page 5 of 27



relied in part upon others to accurately record, prepare, and collect any such documentation and

other information.

        10.     I submit this Affidavit in support of the Debtors’ petitions and First-Day

Motions. As the Chief Restructuring Officer of the Debtors, I am authorized to submit this

Affidavit on behalf of the Debtors.

       11.     If I were called to testify as a witness in this matter, I could and would

competently testify to each of the facts set forth herein based upon my personal knowledge and

review of documents, or upon my professional opinion.

       12.     Part II of this Affidavit describes in more detail the Debtors’ businesses, the

developments which led to the Debtors’ Chapter 11 filings and our goals in these Cases. Part III

sets forth facts relevant to consideration of the First-Day Motions.

                                          II.
                                 THE DEBTORS’ HISTORY

       A.      Overview of the Debtors

       13.     FHI was originally incorporated in Oklahoma on August 18, 2003 under the name

“Graymark Productions, Inc.” and later changed its name to “Graymark Healthcare, Inc.” on

December 31, 2007, and then changed its name to its current name, Foundation Healthcare, Inc.,

on December 2, 2013.

       14.     FHI, a publicly traded Oklahoma corporation, was in the business of owning and

managing facilities which operated in the surgical segment of the healthcare industry. At the

peak of its operations, FHI owned and/or managed five (5) surgical hospitals, nine (9)

ambulatory surgical centers, and three (3) outpatient departments in six (6) states in the

Southeastern United States. The facilities provided care for patients seeking general surgeries

and specialty surgeries such as orthopedics, neurosurgery, pain management, podiatry,

AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 5
Case 17-42571-rfn11 Doc 4 Filed 06/22/17               Entered 06/22/17 13:50:19      Page 6 of 27



gynecology, optometry, gastroenterology, pediatric ENT, wound care, sleep management,

radiology, imaging, and other ancillary services. FHI did not have any direct hospital operations

or patients; however, FHI provided leadership, management, central back office, and

organization services to many of its related affiliates, including UGH.

       15.     As of June 30, 2016, FHI had extensive accumulated and working capital

deficits. As a result, FHI disclosed in its required SEC filings that it may not be able to meets its

obligations as they come due over the next year. At the time, FHI indicated that it planned to

meet the projected cash flow shortage from the sale of certain assets and projected increases in

revenues and decreases in expenses. Because of these uncertainties, FHI issued a “going concern

statement,” specifically that: “[w]e will require significant amounts of additional financing to

execute our business plan and fund our other liquidity needs. If our operating results do not meet

or exceed our projections, we may be unable to continue operations and could be forced to

substantially curtail operations or cease operations all together.”

       16.     FHI was unable to address the cash flow shortage either through the sale of assets,

increase in revenues, decrease in expenses, or by reaching additional modifications or extension

agreements with the Senior Lenders. FHI was publicly traded under the symbol FDNH. On

February 3, 2017, FHI filed Form 15 Certification and Notice of Termination of Registration

with the United States Securities and Exchange Commission to voluntarily deregister its

common stock. FHI has ceased to conduct business operations and has no employees. FHI

currently only has a contracted interim Chief Financial Officer and a contracted Chief

Restructuring Officer, and one part time assistant.

       17.     Foundation Surgical Hospital Holdings, LLC (“FSHH”), a third-tier subsidiary

of FHI, purchased all the partnership interests in University General Hospital, LP and


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 6
Case 17-42571-rfn11 Doc 4 Filed 06/22/17               Entered 06/22/17 13:50:19    Page 7 of 27



substantially all the assets used in the Hospital’s business through the bankruptcy of University

General Health System, Inc. (“UGHS”) in the United States Bankruptcy Court for the Southern

District of Texas. The sale closed on December 31, 2015.

       18.     Just prior to the purchase, Foundation Surgical Hospital Affiliates, LLC

(“FSHA”), a second-tier subsidiary of FHI, formed Foundation Hospital General of Houston,

LLC (“FHGH”) to acquire the general partnership interests in University General Hospital, LP.

On or about January 25, 2016, University General Hospital, LP converted to a Texas limited

liability company, University Hospital General, LLC, one of the Debtors herein.

       19.     UGH is 11% owned by seven (7) doctors or doctor-owned entities, each owning

different numbers of membership units in Class A, one of two classes. Prior to the Petition Date,

the majority of the Class A and Class B membership units comprising a total 88.99% ownership

interest in UGH were transferred by FSHH to FSHA. The remaining 0.01% ownership interest

holder and Class B member of UGH is FHGH.

       20.     UGH, which did business as Foundation Surgical Hospital of Houston, was a

surgically focused, 69-bed hospital located in the Texas Medical Center at 7501 Fannin Street in

Houston, Texas (the “Hospital”). The Hospital opened under prior ownership/management in

2006. Prior to its closure in January 2017, UGH offered a full array of equipment and services

including inpatient and outpatient medical treatments and surgeries, six state-of-the-art operating

suites, two cardiac catheterization labs, an endoscopy suite, pulmonary medicine, diagnostic

imaging, laboratory, wound care and hyperbarics, as well as other ancillary services. During

operation, the Hospital’s medical services included bariatric, orthopedic, neuro/spine, and

general surgery, as well as gynecology, interventional cardiology, podiatry and interventional

pain management.


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 7
Case 17-42571-rfn11 Doc 4 Filed 06/22/17               Entered 06/22/17 13:50:19    Page 8 of 27



       21.     After the purchase, when UGH attempted to re-syndicate the Hospital and

attract new physician partners, there was little or no interest in the market due to the existence

of other high profile struggling or failing physician-owned hospital systems.      Because UGH

was unable to attract physician partners with the types of surgical cases that would provide

higher insurance reimbursement rates, operational income also failed to meet expectations.

Furthermore, UGH could not access favorable managed care contracts as a sole provider in the

Houston area because it was unaffiliated with any of the larger hospital systems. FSHH had to

supplement UGH’s cash flow to maintain operations.

       22.     Moreover, in September 2016, UGH voluntarily suspended its laboratory

license/certification due to the inability to fund adequate supplies and the results of a state and

federal investigation finding multiple irregularities. Because UGH could not run its lab in-

house, UGH had to contract with Methodist Pathology Associates, PLLC for laboratory

services at 2-3 times the in-house cost, resulting in even higher expenses for the struggling

hospital. This led to an aggressive buildup of payables over the year and UGH’s inability to

timely pay certain critical vendors.

       23.     Finally, in November and December 2016, UGH also experienced an unusually

high level of employee medical claims that were out of network, and given that UGH is self-

insured and has a stop-loss of $125,000 per claimant per year, this aberrational expense hit

UGH exceptionally hard.

       24.     As of December 2016, the Hospital, located in the Texas Medical Center in

Houston, Texas, had average daily census of 7.6 inpatients per day and a 3,182.3 average

monthly number of outpatients. UGH’s leased facility is comprised of over 113,000 useable

square feet and is situated on approximately 0.94 acres. Until mid-January 2017, when the


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 8
Case 17-42571-rfn11 Doc 4 Filed 06/22/17               Entered 06/22/17 13:50:19   Page 9 of 27



Hospital began the process of closing its doors, UGH had approximately two hundred and fifty-

two (252) non-insider clinical and non-clinical employees.

       25.     Pre-petition, the Debtor’s central billing office (“CBO”) services were provided

by Foundation Surgical Hospital Management, LLC (“FSHM”) in accordance with that certain

Management Agreement dated effective January 1, 2016 (the “Management Agreement”) with

FSHM. In exchange for these services, the Debtors provided FSHM a management fee of 3%

net monthly collected revenues. FSHM, FSHA, FHGH, and FSHH are wholly owned

subsidiaries of FHI. Attached hereto as Exhibit A, is an organizational chart illustrating the

relevant relationships.

       26.     As UGH did not generate sufficient revenue to operate the Hospital and to service

its debt, UGH began exploring its business options. To address exigent financial and operational

issues, the Debtors retained Ankura Consulting Group (“Ankura”) effective December 16, 2016,

to assist the Debtors to, among other things, create short-term budgets, negotiate appropriate

waivers and forbearances, and assess the Debtors’ available assets and options by which to

improve the Debtors’ performance. When a potential sale of the operating Hospital fell through,

UGH did not have access to sufficient funds to continue to safely operate the Hospital and

therefore had no choice but to close the Hospital. UGH, with the help of Ankura Consulting

Group, took every care to maintain patient safety and privacy while closing the Hospital in an

orderly manner.

       B.      Financing History

       27.     Pursuant to that certain Credit Agreement, dated as of December 31, 2015, (as has

been or may be amended, supplemented, or restated from time to time, the “Credit Agreement”),




AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 9
Case 17-42571-rfn11 Doc 4 Filed 06/22/17                   Entered 06/22/17 13:50:19              Page 10 of 27



among FHI,1 as borrower, Texas Capital Bank, National Association, as Administrative Agent

(the “Prepetition Agent”), and the lenders from time to time party to the Credit Agreement

(collectively, the “Prepetition Lenders”), the Prepetition Lenders made certain loans to FHI,

which loans are evidenced by, without limitation, that certain Promissory Note dated as of

December 31, 2015, executed by FHI and payable to the Prepetition Agent, for and on behalf of

the Prepetition Lenders (as has been or may be amended, supplemented or restated from time to

time, the “FHI Note”). Contemporaneously with the extension of the loans by the Prepetition

Lenders to FHI under the Credit Agreement, FHI made a loan in the principal amount of

$12,605,000.00 to UGH (the “Intercompany Loan”). The Intercompany Loan is evidenced by

that certain Intercompany Promissory Note dated December 31, 2015 (the “Intercompany

Note”). UGH’s obligations to FHI under the Intercompany Note are secured by that certain

Intercompany Security Agreement dated December 31, 2015 (the “Intercompany Security

Agreement” and, together with the Intercompany Note and all related documents, agreements,

notes, and financing statements, collectively, the “Intercompany Indebtedness Documents”),

pursuant to which UGH granted FHI a security interest encumbering substantially all of UGH’s

assets. FHI’s obligations to the Prepetition Agent and Prepetition Lenders under the Credit

Agreement and FHI Note were secured by, among other things, a pledge of FHI’s interest in the

Intercompany Indebtedness Documents. Additionally, FHI assigned the Intercompany Note to

the Prepetition Agent on December 31, 2015. The Credit Agreement, FHI Note, and related

security agreements, deeds of trust, and other agreements and documents executed in connection

with the Credit Agreement, together with any amendments and restatements thereto, are

collectively referred to herein as the “FHI Indebtedness Documents.”

1
 FHI, through certain of its subsidiaries, is the indirect owner of approximately 90% of the membership interests of
UGH.

AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 10
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19      Page 11 of 27



       28.     As of the Petition Date, the Prepetition Agent asserts that the aggregate amount of

not less than $6,284,895.28 was due and owing by FHI to the Prepetition Lenders under the FHI

Indebtedness Documents (the “FHI Prepetition Indebtedness”). As of the Petition Date, the

Prepetition Agent asserts that the aggregate amount of not less than approximately

$7,622,000.00 was due and owing by UGH to the Prepetition Lenders under the Intercompany

Indebtedness Documents, (the “UGH Prepetition Indebtedness” and, collectively with the FHI

Prepetition Indebtedness, the “Prepetition Indebtedness”).

       29.     On December 30 2016, TCB, as administrative agent, issued letters to FHI and

UGH stating that due to certain events of default by FHI under its Credit Agreement with TCB,

TCB directed all payments under the Intercompany Note to be made to TCB and not FHI

pursuant to those documents.

       30.     The Debtors believe that the Prepetition Lenders are the Debtors’ only secured

lenders, with other financing relationships for equipment characterized as capital leases. The

Debtors are party to those certain equipment lease agreements with First Financial Corporate

Leasing, LLC, Med One Capital Funding, LLC, and Toshiba American Medical Credit, a

program of Toshiba America Medical Systems, Inc. whereby the Debtors leased certain

medical equipment (the “Equipment Leases”).             As of the Petition Date, UGH owes an

aggregate of approximately $2,359,859.04 and FHI owes an aggregate of approximately

$80,000.00 under the Equipment Leases.

       C.      Real Property Leases

       31.     FHI leases corporate office space located at 13900 N. Portland, Oklahoma City,

Oklahoma 73134 from Memorial Hefner Parkway, LLC, an Oklahoma limited liability company

(“Memorial”) pursuant to that certain Office Lease Agreement dated January 18, 2016 (the “FHI


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 11
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19     Page 12 of 27



Lease”). The FHI Lease’s initial term was a period of sixty-three (63) months commencing on

May 1, 2016. The FHI Lease included a $40,000.00 security deposit, and increasing monthly

base rent ranging from $40,037.09 to $42,201.25. FHI is also responsible for certain additional

costs for items such as insurance, taxes, and landscape services. The FHI Lease is current as of

the Petition Date.

       32.     UGH leases the real property and fixtures on which the Hospital operates from

Cambridge Properties (“Cambridge”) pursuant to the terms of that certain Lease Agreement

dated July 21, 2005, as thereafter amended (the “UGH Lease”). The UGH Lease’s initial term

was extended through July 20, 2026, with a monthly rent payment in the amount of $227,269 for

the Hospital and the Special Use Common Areas plus approximately $100 per month for the

Compactor Area and $25,575 per month for 165 Garage Parking Spaces.

       33.     As of the Petition Date, UGH’s payments due under the Lease for approximately

five (5) months’ base rent, special use common areas, projected general operating expenses,

water, night time security, garage parking, valet spaces, reserved parking, and basement parking

in the amount of $1,629,000.00 has not been paid.

       D.      The Debtors’ Intentions in Chapter 11

       34.     In Chapter 11, the Debtors have an opportunity to quickly file and confirm a joint

plan of liquidation, allowing a liquidating trustee to administer the assets of the estates and

achieve maximum values for all creditors, and further oversee the orderly wind-down and

dissolution of these healthcare entities to ensure patient rights and records are handled in

accordance with applicable law.

       35.     The Debtors file these Cases seeking cash collateral usage for 2 weeks on an

interim basis, as well as approval of a DIP financing package to provide the necessary funding


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 12
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19      Page 13 of 27



for the remainder of Cases, projected to be 12 weeks. During this time, the Debtors intend to file

and aggressively seek confirmation of a joint plan of liquidation as quickly as possible to reduce

costs while still providing adequate notice to the appropriate parties of all relief sought and

complying with relevant provisions of the Bankruptcy Code. All indications show that this is a

reasonable probability and the Debtors intend to file pleadings seeking such approval and

authorization with the support of the Prepetition Lenders. In order to maximize values for all

creditors, including unsecured creditors, the Debtors were forced to commence these Cases now

and respectfully seek the relief set forth in the First-Day Motions summarized below.

                                             III.
                                     FIRST-DAY MOTIONS

       36.     Generally, the First-Day Motions have been designed to meet the goals of: (a)

wind down the Debtors’ operations during the Cases while preserving as much value to the

estate as possible; (b) maintaining patient privacy and confidentiality, (c) employing a chief

restructuring officer to manage the Debtors through this bankruptcy process, and (d) hiring a

claims and noticing agent to facilitate noticing and handling of claims during the bankruptcy

process.

       37.     I have reviewed each of the First-Day Motions, including the exhibits thereto, and

I believe that the relief sought in each of the First-Day Motions is narrowly tailored to meet the

goals described above and, ultimately, will be critical to the Debtors’ ability to achieve a

successful outcome in these Cases.

       38.     The First-Day Motions are identified and more fully described below.


A.     Debtors’ Motion Pursuant to Rule 1015 of the Federal Rules
       of Bankruptcy Procedure for Entry of an Order Directing
       Joint Administration of Chapter 11 Cases


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 13
Case 17-42571-rfn11 Doc 4 Filed 06/22/17            Entered 06/22/17 13:50:19         Page 14 of 27



           39.    UGH is an affiliate of FHI because FHI indirectly owns and/or controls at least

20% of the outstanding voting shares of UGH. FSHA is the majority interest holder of UGH

equity and FSHA is 100% owned by TSH Acquisition, LLC, which is majority owned by FHI.

           40.   Joint administration of UGH and FHI’s cases is warranted by the fact that the

financial affairs and business operations of the two entities are closely related, as well as the fact

that they are purportedly cross-collateralized and cross-defaulted under terms of the Note and

Credit Agreement.

           41.   Additionally, entry of an order directing joint administration of these cases will

obviate the need for duplicative notices, applications and orders, and will thereby save

considerable time and expense for each debtor and result in substantial savings to their respective

estates.

           42.   Furthermore, the rights of the respective creditors of the Debtors will not be

adversely affected by joint administration of these cases because the Joint Administration

Motion requests only administrative consolidation of the estates, and the Debtors are not seeking

substantive consolidation. Each creditor must file a claim against a particular Debtor’s estate.

Thus, the rights of all creditors will be enhanced by the reduced costs resulting from joint

administration. This Court also will be relieved of the burden of entering duplicative orders and

maintaining duplicative files. Finally, supervision of the administrative aspects of these Cases

by the Office of the United States Trustee will be simplified.


B.         Debtors’ Application for an Entry of an Interim and Final Order
           Authorizing the Employment, Retention, and Designation of
           Michael S. Miller as Chief Restructuring Officer and
           Ankura Consulting Group, LLC as Financial and Restructuring Advisor




AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 14
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19        Page 15 of 27



       43.     I seek to serve as the CRO for the Debtors to guide them through the bankruptcy

and liquidation process; and to provide an experienced, independent perspective to the Debtors

and its financial and operational needs. In this capacity, I plan to assess the Debtors’ needs

holistically, with no agenda but maximizing value for creditors while maintaining patient

privacy. I can independently request and review information, evaluate the same, and diagnose

any problems from which the Debtors suffer. I can then use that information to work with

counsel and other professionals to provide as orderly and organized a liquidation process as

possible.

       44.     Ankura provides financial and restructuring consulting services to various

constituencies of underperforming and distressed companies. Ankura has extensive experience

and its professionals have led or held key roles in the turnaround and/or restructuring of

hundreds of some of the most complex matters around the globe and across a broad range of

industries. The Debtors have determined that the services of an experienced restructuring and

financial advisor will substantially enhance their attempts to maximize the value of their assets in

bankruptcy. The Debtors believe that Ankura’s experience, which includes experience in the

healthcare industry, is important in its efforts to maximize value for creditors.

       45.     Ankura can provide the Debtors with the resources, capabilities and experience

that are important to the Debtors’ efforts to wind-down the businesses. Ankura’s experienced

staff and professionals are well-qualified and able to advise the Debtors in a timely and efficient

manner.

       46.     To the best of my knowledge and except to the extent disclosed in the Affidavit of

Michael S. Miller in Support of the Application for Entry of an Order Authorizing the

Employment, Retention and Designation of Michael S. Miller as Chief Restructuring Officer and


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 15
Case 17-42571-rfn11 Doc 4 Filed 06/22/17                            Entered 06/22/17 13:50:19                   Page 16 of 27



Ankura          Consulting        Group,       LLC       as    Financial        and      Restructuring         Advisor,       filed

contemporaneously herewith: (a) neither I nor Ankura have any connection with the Debtors,

their creditors, or other parties in interest, or the attorneys or accountants of the foregoing, or the

Office of the United States Trustee for the Northern District of Texas (the “U.S. Trustee”) or any

person employed in the Office of the U.S. Trustee; and (b) neither I nor Ankura hold any interest

adverse to the Debtors’ estates.


C.          Debtors’ Motion Pursuant to Sections 105(a), 345(b), 363(c)
            and 364(a) of the Bankruptcy Code for Authorization to
            (I) Continue to Use the Existing Cash Management System,
            (II) Maintain Existing Bank Accounts, and (III) Waive Certain Deposit Guidelines

            47.       To efficiently and seamlessly manage their businesses, the Debtors utilize a cash

management system (the “Cash Management System”) to collect and transfer the funds

generated from the collection of accounts receivable of UGH at the Hospital, depositing the

collections in one of three deposit accounts and transferring funds to a central operating and

down to two disbursing accounts from which UGH’s financial obligations, including payroll and

accounts payable, are paid.                  The Cash Management System facilitates the Debtors’ cash

monitoring, forecasting and reporting, and enables the Debtors to maintain control over the

administration of their bank accounts. A list of the Debtors’ accounts and chart showing the

flow of the Debtors’ Cash Management System is attached hereto as Exhibit B.2

            48.       Pre-petition, UGH’s receipts, including but not limited to electronic funds

transfers from insurance companies, Medicare, credit card companies, local deposits and CBO

patient payments, were deposited into one of three deposit accounts. Electronic payments from

Blue Cross Blue Shield and CBO patient payments were deposited directly into a lockbox


2
    Complete account numbers have been redacted due to confidentiality concerns, leaving only the last four digits for reference.

AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 16
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19      Page 17 of 27



account in UGH’s name at TCB (the “Lockbox Account”), and then automatically swept to an

operating account also located at TCB (the “Main Operating Account”). Local deposits and co-

pays were deposited into a local deposit account at Chase Bank, N.A. (the “Local Deposit

Account”) in UGH’s name before being transferred to the Main Operating Account. The Local

Deposit Account will be closed as soon as practicable. Payments from Medicare and all other

third party payors were sent directly to another lockbox deposit account in UGH’s name at

AmegyBank (the “Medicare Deposit Account”) before being transferred to the Main Operating

Account.

       49.      Pre-petition, FHI utilized a bank account at TCB, mostly for funding corporate

expenses (the “FHI Operating Account”). Funds were also transferred from the FHI Operating

Account to another account at Valliance Bank for the payment of employee health insurance

claims (the “UMR Account”). There are also two corporate accounts at BankSNB, which

management kept open so that FHI would have access to local banking. The BankSNB accounts

have only been used recently for an auto-draft by Wells Fargo for payments on a financed

corporate copy machine, which payments will be stopped as of the Petition Date and the

BankSNB accounts closed. Operating payments for FHI have been funded through the FHI AP

Account at TCB. Exhibit B demonstrates the flow of funds for the Cash Management System of

both Debtors.

       50.      As a practical matter, many of the payments made directly to the deposit accounts

are from third party payors and, being insurance companies and governmental entities, changing

that information can be time consuming and difficult, resulting in delayed payments to both

Debtors. Some of the insurance payors have indicated it could take four (4) to eight (8) weeks

for any changes in electronic deposit information to be implemented.


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 17
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19        Page 18 of 27



       51.     Accordingly, the Debtors are seeking authority to (i) continue to operate the Cash

Management System, (ii) maintain certain of the Debtors’ existing Bank Accounts and (iii) a

waiver of Section 345(b) of the Bankruptcy Code as necessary.

       52.     The Cash Management System constitutes an ordinary course and essential

business practice providing significant benefits to the Debtors, including, among other things,

the ability to ensure the maximum availability of funds when and where necessary, and to reduce

administrative expenses by facilitating the movement of funds and the development of more

timely and accurate account balance information.

       53.     The existing Cash Management System is the most effective mechanism for

managing receipts at this time. Thus, the Debtors believe that “cause” exists pursuant to Section

345(b) of the Bankruptcy Court to waive such requirement. The Debtors also believe that the

benefit of waiving the Section 345(b) requirement far outweighs any harm to the estates. Thus,

the Debtors believe that maintenance of the existing Cash Management System as set forth

herein is in the best interests of the estates and all parties in interest. Accordingly, the Debtors

seek authority to maintain and use their existing Cash Management System during the Cases.


D.     Motion of Debtors to (I) Authorize Certain Procedures to Maintain the
       Confidentiality of Patient Information, (II) for Authority to File Under Seal
       Separate Matrix and Schedule F Containing Patient Information, and (III) for
       Relief from Required Form of Mailing Matrix with Regard to Separate Matrix

       54.     Certain past patients of UGH may assert claims against UGH, and under the

Bankruptcy Code and the applicable Bankruptcy Rules, UGH is required to list information

about such patients as potential creditors, including their names and addresses, in the creditor

matrix and in the Schedules and Statements. Listing any patient names or addresses in the

matrix, Schedules, and Statement, or any notice or certificate of service, however, may violate


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 18
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19       Page 19 of 27



the Health Insurance Portability and Accountability Act (“HIPAA”), unless an exception

permitting such distribution is satisfied.

       55.     Furthermore, FHI has access to or control over certain healthcare related and

private financial information of past patients that may also qualify for protection under the

HIPAA. Therefore, out of an abundance of caution, both the Debtors seek relief under this

motion.

       56.     An exception exists in HIPAA for disclosures made with valid authorization.

Valid authorization for purposes of HIPAA includes information authorized to be released for

law enforcement purposes, which is defined as releases required by law (including court orders,

court-ordered warrants, and subpoenas) and administrative requests. See 45 C.F.R. § 164.512(f).

To the extent that the Debtors distribute protected health information pursuant to an order of this

Court, such distribution would not violate HIPAA.

       57.     Likewise, the Texas Medical Records Privacy Act (“TMRPA”) provides that a

“covered entity” must comply with HIPAA and TMRPA. See TEX. HEALTH AND SAFETY

CODE § 181.004. Section 181.001(2)(A) of TMRPA provides that the term “covered entity”

includes a health care facility or clinic. Section 181.151 of TMRPA prohibits the

“reidentification or attempt to reidentify an individual who is the subject of any protected health

information without obtaining the individual’s consent or authorization.” TMRPA permits

disclosure pursuant to a court order. See TEX. HEALTH & SAFETY CODE § 181.154(c)(2).

       58.     To comply with applicable privacy restrictions, the Debtors propose to file the

Supplemental Schedule F and a separate patient creditor matrix (“Patient Matrix”) under seal.

Because the privacy restrictions of HIPAA may still be imposed beyond final disposition of this




AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 19
Case 17-42571-rfn11 Doc 4 Filed 06/22/17                  Entered 06/22/17 13:50:19              Page 20 of 27



case, the Debtors further request that the Patient Matrix and Supplemental Schedule F be kept

confidential indefinitely and not deemed unsealed 60 days after the final disposition of this Case.

        59.      The Debtors estimate that the Hospital treated over 34,000 patients in the last 3

years (“Patients”).3 The Patients will be given notice in writing in the form of the Notice of

Commencement of this Bankruptcy Case and Proof of Claim form, as well as a communication

informing the Patients how to request further notice of future pleadings and access to the claims

agent’s website. The proposed claims and noticing agent for this case will be Donlin, Recano &

Company, Inc. The Debtors are requesting that no further notices and/or pleadings be required to

be given to the Patients in this case unless any such Patient requests further notices and/or

pleadings or such Patient timely files a proof of claim.

        60.      Accordingly, the Debtors request that the Court establish the following

procedures to balance the need to protect patient health information with the need to disclose

information regarding this case to the public:

        (a)      the Debtors shall omit any reference to current or former Patients from the
                 publicly filed matrix of creditors and any certificate of service not filed
                 under seal;

        (b)      the Debtors shall make an unredacted copy of the Schedules and
                 Statements available to (a) the Court and to the United States Trustee upon
                 request; and (b) any other party-in-interest only after this Court has
                 entered an order, after notice and a hearing, authorizing the Debtors to do
                 so;

        (c)      the Debtors shall maintain a list of all current or former Patients (the
                 “Patient Matrix”) that would appear on the matrix of creditors, and shall
                 make the Patient Matrix, or any portion thereof, available to any party-in-
                 interest only after this Court has entered an order, after notice and a
                 hearing, authorizing the Debtors to do so;

3
 UGH was only operating and seeing patients for one year, and therefore patients treated under the prior ownership
and management of the Hospital would not be creditors of UGH. Specifically, patients seen prior to the close of the
Hospital sale on December 31, 2015, would not be creditors of the UGH estate. However, because the third party
vendor hosting the medical records has denied UGH access to same, UGH currently only has access to the three
year patient list, and is therefore noticing the entire list out of an abundance of caution.
AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 20
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19       Page 21 of 27




       (d)     when the Debtors serve any paper upon any person listed on the Patient
               Matrix, the Debtors shall note in the respective certificate of service that
               the parties served include persons listed on the Patient Matrix;

       (e)     the Debtors shall file the Patient Matrix and any Supplemental Schedule F
               under seal;

       (f)     the Debtors may give notice to Patients in the form of the Notice of
               Commencement of this Bankruptcy Case and Proof of Claim form, as well
               as a communication informing the Patients how to request further notice
               of future pleadings and access to the claims agent’s website; and

       (g)     the Debtors are relieved from submitting the lengthy Patient Matrix in the
               format required by the Local Rules.

       61.     The requested relief is required to permit the Debtors to comply with HIPAA and

TMRPA. In particular, TMRPA imposes civil penalties for violations. The Debtors believe that

the procedures proposed herein permit them to comply with both HIPAA and TMRPA, as well

as their disclosure requirements under the Bankruptcy Code and Bankruptcy Rules.

E.     Motion for Interim and Final Orders (1) Authorizing Secured
       Post-Petition Financing; (2) Authorizing the Use of Cash Collateral;
       (3) Granting Security Interests, Superpriority Claims, and Other Adequate
       Protection; (4) Modifying the Automatic Stay; and (5) Scheduling a Final Hearing

       62.     The Debtors seek authority, on an interim basis, to pay reasonable and necessary

wind-down expenses, including but not limited to, employee medical insurance benefits, costs

for Patient record maintenance, data storage and removal, tax return preparation, and

professional and contract employee fees as set forth on Exhibit C attached hereto. A need exists

for the Debtors to utilize cash collateral in order to continue to preserve and maintain the value

of the Debtors’ estates.

       63.     The Debtors’ proposed use of cash collateral is necessary to preserve the value of

the Prepetition Lenders’ collateral and the Debtors’ estates for the benefit of all creditors. The

Prepetition Lenders have represented that they are willing to permit the Debtors to use cash

AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 21
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19        Page 22 of 27



collateral only in the amounts, and on the conditions provided for, in the motion and in the

proposed interim order. The Debtors believe that, under the circumstances, the terms and

conditions set forth in the motion and in the proposed interim order are fair and reasonable for

using cash collateral and granting adequate protection.

       64.     Without the ability to fund the orderly wind-down expenses, the Debtors and their

estates will suffer harm. For example, if funds are not available to maintain patient records, such

records may be lost or destroyed in violation of federal and state law, to the detriment of the

Debtors and the Patients.

       65.     Prior to the Petition Date, the Debtors sought out several potential sources of

debtor-in-possession (“DIP”) financing. The Debtors are unable to obtain credit allowable as an

administrative expense under Section 503(b)(1) of the Bankruptcy Code or on any other terms.

The Debtors engaged in good faith and arm’s-length negotiations with the Prepetition Lenders.

       66.     The DIP Financing requested by the Debtors is necessary to maintain the value of

the Debtors’ assets and effect an orderly wind-down of the Debtors’ businesses. Without the

proposed DIP Financing as negotiated, the complex disposition of the Debtors’ assets will be

frustrated and the Debtors’ creditors exposed to an unwarranted loss in value of their collateral.

F.     Debtors’ Motion for an Order (A) Authorizing (I) the Debtors to Pay Pre-Petition
       Medical Insurance Benefits and (II) Banks to Honor and Pay Checks Issued to Pay
       Pre-petition Medical Insurance Benefits, and (B) Establishing a Deadline for the
       Submission and Administration of Medical Insurance Benefit Claims, and (C)
       Authorizing the Termination of the Debtors’ Administrative Services Agreement

       67.     Prior to the Petition Date, FHI had one hundred and thirty-six (136) employees.

These employees provided management and support services to FHI’s affiliates. Prior to the

Hospital’s closure in January of 2017, UGH’s workforce included a total of two hundred and

fifty-two (252) non-insider clinical and non-clinical professionals and staff (collectively, with


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 22
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19      Page 23 of 27



FHI’s former employees, the “Employees”). The Employees were, in large part, highly skilled

medical professionals working full time, part time and PRN positions.

       68.     In addition to salary, in the ordinary course of business the Debtors also provided

various benefit programs to their Employees including medical and prescription drug coverage,

through the Foundation Healthcare, Inc. Group Benefit Plan, ERISA Plan #501 (the “Group

Benefit Plan”). The Group Benefit Plan is administered by UMR, formerly United Medical

Resources, under an Administrative Services Agreement, effective January 1, 2014, between

FHI and UMR (the “ASA”). The Group Benefit Plan is self-funded by FHI. UMR is a third

party plan administrator subsidiary of United Healthcare Services, Inc. providing administrative

services for self-funded health insurance plans.

       69.     Under the Group Benefit Plan, Employees paid a portion of the premiums for the

Group Benefit Plan and the Debtors paid the remaining portion of the premiums. The Group

Benefit Plan included coverage for claims incurred during the Employee’s term of employment.

The Group Benefit Plan was terminated effective March 31, 2017 (the “Termination Date”).

Accordingly, only medical services provided prior to the Termination Date (the “Pre-Petition

Medical Insurance Benefits”) are covered under the Group Benefit Plan. The Debtors’ estimate

that the remaining, unpaid claims covered by the Group Benefit Plan (the “Pre-Petition Medical

Insurance Benefits”) will not exceed $463,000.00 in the aggregate.

       70.     Under the Group Benefit Plan, Employees (or their third-party providers) were

permitted to submit claims through the UMR system for one (1) year after the event giving rise

to the claim. Upon termination of the Group Benefit Plan as a result of bankruptcy, Employees

(or their third-party providers) are given a shorter seventy-five (75) day period to file claims.




AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 23
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19     Page 24 of 27



FHI retains the right to amend the Group Benefit Plan to provide for a modified claim

submission period.

       71.     The Debtors anticipate that all of the Employee’s Pre-Petition Medical Insurance

Benefits that the Debtors seek to pay are less than the priority wage allowance of $12,850 under

Section 507(a)(4) of the Bankruptcy Code per Employee. However, to the extent that any one

claim exceeds the $12,850 priority cap, the Debtors propose to provide notice and a seven (7)

day opportunity to object to the payment of any such claim.

       72.     Concurrent herewith, the Debtors have filed a motion seeking approval to utilize

cash collateral and authority to enter into debtor-in-possession financing (the “Cash

Collateral/DIP Motion”). The Cash Collateral/DIP Motion proposes that all such cash collateral

or DIP funds used will be according to a limited budget. Procedures for the funding of amounts

to be used specifically to pay the Pre-Petition Wages Medical Insurance Benefits up to a

specified limited and in accordance with set procedures are included within such budget.

Accordingly, upon the approval of the Cash Collateral/DIP Motion, the Debtors will have

sufficient funds to pay the amounts sought by this Motion.

       73.     Because the amounts represented by Pre-Petition Medical Insurance Benefits are

needed to enable the Employees to meet their own personal obligations, absent the relief

requested herein, they will suffer undue hardship and, in many instances, serious financial

difficulties. Moreover, the Employees partially paid for this coverage and would be unduly

prejudiced by a failure of the Debtors to fund the plans as part of their compensation and

benefits. Therefore, the Debtors respectfully request authority to pay the Pre-Petition Medical

Insurance Benefits. Contemporaneously therewith, the Debtors are requesting that the order

entered by the Court also authorize banks to honor and pay checks issued to pay Pre-Petition


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 24
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19      Page 25 of 27



Medical Insurance Benefits and establish procedures and a claim bar date for the submission of

claims for Pre-Petition Medical Insurance Benefits.

G.     Debtors’ Application for an Order Appointing Donlin, Recano & Company, Inc.
       as Claims and Noticing Agent for the Debtors Pursuant to 28 U.S.C. § 156(c),
       Effective as of the Petition Date

       74.     The Debtors seek an order appointing Donlin, Recano & Company, Inc. (“DRC”)

as the claims and noticing agent to assume responsibility for the distribution of notices and

maintenance, processing, and docketing of proofs of claim in these Cases. The Debtors anticipate

that there will be thousands of parties to be noticed in these Cases. In view of the number of

anticipated claimants and the complexity of the Debtors’ businesses, the Debtors believe that the

appointment of a claims and noticing agent is both necessary and in the best interests of both the

Debtors’ estates and their creditors.

       75.     DRC has acted as the claims and noticing agent in numerous cases.               By

appointing DRC the claims and noticing agent in this Case, the distribution of notices and

processing of claims will be expedited, and the clerk’s office will be relieved of the

administrative burden of processing what may be an overwhelming number of claims and

provide the public, free of charge, with access to the claims register on a case-specific website

maintained by DRC.      Additionally, DRC provides call center services, so that when Patients,

creditors, or other interested parties receive notice of the Cases, their calls may be answered by

competent professionals at a much lower cost than if Debtors’ bankruptcy counsel were fielding

all the communications.

       76.     DRC agrees to maintain records of all services showing dates, categories of

services, fees charged and expenses incurred, and to serve monthly invoices on the Debtors, the

office of the United States Trustee, counsel for the Debtors, counsel for any official committee,


AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 25
Case 17-42571-rfn11 Doc 4 Filed 06/22/17           Entered 06/22/17 13:50:19        Page 26 of 27



if any, monitoring the expenses of the Debtors and any party-in-interest who specifically

requests service of the monthly invoices. The fees to be charged by DRC in these Cases are

reasonable and ordinary for these type of Cases and the services to be performed.

       77.     DRC represents in the Affidavit of Alexander Leventhal in Support of the Debtors’

Application for an Order Appointing Donlin, Recano & Company, Inc. as Claims and Noticing

Agent for the Debtors Pursuant to 28 U.S.C. § 156(c), Effective as of the Petition Date, filed

contemporaneously herewith, that DRC is a “disinterested person” as that term is defined in

Bankruptcy Code § 101(14) with respect to the matters upon which it is to be engaged.

Furthermore, DRC shall not employ any past or present Employee of the Debtors for work that

involves the Cases. Therefore, the Debtors seek the requested employment of DRC as claims

and noticing agent.

                                             IV.
                                         CONCLUSION

       78.     The primary purpose of the filing of these Cases is to maintain patient privacy and

to prevent deterioration and to protect the value of the estates. In the interim, through the First-

Day Motions described above, the Debtors seek to minimize certain adverse effects that these

Cases might otherwise have on the Patients, Employees, and assets of the Debtors’ estates, while

honoring the spirit of the Chapter 11 process.

       79.      For the reasons described herein and in the First-Day Motions, I believe that the

prospect for achieving these objectives for the benefit of creditors and other stakeholders will

be substantially enhanced if this Court grants the relief requested in each of the First-Day

Motions and respectfully request the Court to do so.




AFFIDAVIT OF MICHAEL S. MILLER
IN SUPPORT OF THE DEBTORS’ CHAPTER 11
PETITIONS AND REQUESTS FOR FIRST-DAY RELIEF – PAGE 26
Case 17-42571-rfn11 Doc 4 Filed 06/22/17   Entered 06/22/17 13:50:19   Page 27 of 27
